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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WARNER BROS. ENTERTAINMENT INC.,
                                                          Case No. 25-cv-02056
                        Plaintiff,
v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                        Defendants.


                                          COMPLAINT

       Plaintiff Warner Bros. Entertainment Inc. (“Plaintiff” or “WBEI”) hereby brings the

present action against the Partnerships and Unincorporated Associations Identified on Schedule A

attached hereto (collectively, “Defendants”) and alleges as follows:

                                I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over WBEI’s claims pursuant to

the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., the Copyright Act 17 U.S.C. § 501,

et seq., 28 U.S.C. § 1338(a)-(b) and 28 U.S.C. § 1331.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants because Defendants structure their

business activities to target consumers in the United States, including Illinois, through at least the

fully interactive e-commerce stores operating under the aliases identified on Schedule A attached

hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to Illinois residents by

setting up and operating e-commerce stores that target United States consumers, offer shipping to

the United States, including Illinois, accept payment in U.S. dollars and, on information and belief,


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sell products using infringing and counterfeit versions of WBEI’s federally registered trademarks

and/or unauthorized copies of WBEI’s federally registered copyrighted works (collectively, the

“Unauthorized Products”) to residents of Illinois. Each of the Defendants is committing tortious

acts in Illinois, is engaging in interstate commerce, and has wrongfully caused WBEI substantial

injury in the state of Illinois.

                                      II. INTRODUCTION

        3.      WBEI filed this case to prevent e-commerce store operators who trade upon

WBEI’s reputation and goodwill from further selling and/or offering for sale Unauthorized

Products. Defendants create e-commerce stores under one or more Seller Aliases and then

advertise, offer for sale, and/or sell Unauthorized Products to unknowing consumers. E-commerce

stores operating under the Seller Aliases share identifiers, such as design elements and similarities

of the Unauthorized Products offered for sale, establishing that a logical relationship exists

between them, and that Defendants’ infringing operation arises out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants take advantage of a set of

circumstances, including the anonymity and mass reach afforded by the Internet and the cover

afforded by international borders, to violate WBEI’s intellectual property rights with impunity.

Defendants attempt to avoid liability by operating under one or more Seller Aliases to conceal

their identities, locations, and the full scope and interworking of their operation. WBEI is forced

to file this action to combat Defendants’ counterfeiting of its registered trademarks and

infringement of its registered copyrighted works, as well as to protect consumers from purchasing

Unauthorized Products over the Internet. WBEI has been, and continues to be, irreparably

damaged through consumer confusion and dilution of its valuable trademarks and infringement of




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its copyrighted works because of Defendants’ actions and therefore seeks injunctive and monetary

relief.

                                        III. THE PARTIES

           4.    WBEI is a subsidiary of Warners Bros. Discovery, Inc. (“WBD”) and is

headquartered in Burbank, California. WBEI owns the trademark rights and copyrighted works

asserted herein, which relate to the famous Harry Potter franchise.

           5.    Since the publication of Harry Potter and the Sorcerer’s Stone in 1997 in the USA,

the world has been captivated by the fictional, magical universe created by J.K. Rowling. The

Harry Potter universe was brought to the silver screen by WBEI, starting with the first Harry Potter

film, also titled Harry Potter and the Sorcerer’s Stone, in 2001 in the USA. WBEI then produced

seven more films tracking the entirety of J.K Rowling’s Harry Potter book series. WBEI has also

produced a multitude of related entertainment products, services, and experiences under the

HARRY POTTER and/or WIZARDING WORLD banner that constitute a franchise of enormous

breadth and value.

           6.    WBEI’s Harry Potter films are among the most successful films of all time, with

the worldwide release of the films grossing over seven billion dollars. The eighth and final film,

Harry Potter and the Deathly Hallows – Part 2, grossed more than a billion dollars—one of only

nine films in cinema history to accomplish this feat. The success of the Harry Potter franchise has

led to seven major Harry Potter-themed permanent attractions around the world, including the

Wizarding World of Harry Potter-themed lands at Universal Studios parks in Orlando, Florida;

Hollywood, California; Beijing, China; Osaka, Japan; and The Making of Harry Potter Warner

Bros. Studio Tour in Hollywood, California, Leavesden, England and Tokyo, Japan. WBEI has

also produced a film series under the “Fantastic Beasts” banner, which is a spin-off prequel to the




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Harry Potter films. In addition, WBEI and/or its licensees offer a large stable of Harry Potter-

themed video games, including Hogwarts Legacy, which was the bestselling video game

worldwide of 2023.

       7.      WBEI markets and sells a variety of Harry Potter and Fantastic Beasts branded

products, including bags, books, clothing, cosmetics, homeware, jewelry, toys, stationery, games,

and other merchandise bearing WBEI’s trademarks (collectively, “HP Products”). HP Products

have become enormously popular, driven by WBEI’s quality standards and innovative designs.

Among the purchasing public, HP Products are instantly recognizable as such. HP Products are

distributed and sold to consumers by WBEI through authorized licensees and retail channels,

including at various Harry Potter-themed parks and attractions, Harry Potter stores owned and/or

controlled by WBEI and through WBEI’s www.harrypottershop.com website.

       8.      Before Defendants’ acts described herein, WBEI launched the Harry Potter

franchise and related lines of products bearing its famous Harry Potter marks. The Harry Potter

films, and a multitude of style guides composed of collections of photographs and artwork related

to the Harry Potter universe, were also registered with the United States Copyright Office (the “HP

Copyrighted Works”).

       9.      In addition to the Harry Potter films, the HP Copyrighted Works contain

photographs and artwork showing numerous indicia of the Harry Potter universe, including

characters described and seen in the Harry Potter books and movies; distinctive wands used by

the Harry Potter universe characters; crests and flags related to the four house names of Hogwarts

- the school attended by many of the characters in the Harry Potter universe; famous objects

described and seen in the Harry Potter books and movies; distinctive creatures described and seen

in the Harry Potter universe; famous locations described and seen in the Harry Potter books and




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movies; and famous symbols described and seen in the Harry Potter books and movies. Some of

the works contained in the HP Copyrighted Works are included in the chart below: 1




           Harry Potter




       Hermione Granger




1
 The works shown in the table are non-exhaustive examples of the works contained in the HP Copyrighted
Works.


                                                      5
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     Ron Weasley




Professor Severus Snape




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Professor Albus Dumbledore




    Professor Minerva
       McGonagall




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   Rubeus Hagrid




  Lord Voldemort




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   Draco Malfoy




   Ginny Weasley




                                       9
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  Neville Longbottom




    Luna Lovegood




        Dobby




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  Bellatrix Lestrange




     Sirius Black




                                         Albus Dumbledore’s Wand

        Wands
                                            Harry Potter’s Wand


                                        Hermione Granger’s Wand


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                                             Ron Weasley’s Wand


                                        Neville Longbottom’s Wand


                                            Ginny Weasley’s Wand


                                       Minerva McGonagall’s Wand


                                            Luna Lovegood’s Wand




                                            Lord Voldemort’s Wand


                                            Severus Snape’s Wand




                                        Bellatrix Lestrange’s Wand




House Crests and Flags




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       Objects
                                            Harry Potter’s Glasses




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                                              Golden Snitch




                                              Nimbus 2000




                                               Sorting Hat




                                       14
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                                              Triwizard Cup




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                                             Marauder’s Map




                                  Marvolo Gaunt's Ring/Resurrection Stone




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                                             Slytherin’s Locket




                                            Ravenclaw’s Diadem




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                                       Time-Turner Pendant Necklace




      Creatures




                                                 Hedwig




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                                               A Dementor




                                                 Fawkes




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                                             King’s Cross Station




      Locations



                                 King’s Cross Station and Platform 9 and 3/4




                                                  Hogwarts




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                                                Hogwarts




                                              Diagon Alley




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             Symbols




                                                            The Dark Mark

       10.     The HP Copyrighted Works are registered with the United States Copyright Office.

True and correct copies of the records from the U.S. Copyright Office website for the HP

Copyrighted Works are attached hereto as Exhibit 1.

       11.     Among the exclusive rights granted to WBEI under the U.S. Copyright Act are the

exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display the HP

Copyrighted Works to the public. Since first publication, the HP Copyrighted Works have been

used on HP Products and are featured at various Harry Potter-themed parks and attractions, Harry

Potter stores owned and/or controlled by WBEI, and on WBEI’s www.harrypottershop.com

website.




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       12.    Many trademarks deriving from the Harry Potter fictional universe are registered

with the United States Patent and Trademark Office, and HP Products typically include at least

one of WBEI’s registered trademarks. WBEI uses its trademarks in connection with the marketing

of HP Products and Services, including the following registered marks which are collectively

referred to as the “HP Trademarks.”

                          Registration
                           Number               Trademark
                            2,450,787
                            2,450,788
                            2,479,341
                            2,493,484
                            2,497,083
                            2,506,165
                            2,506,166
                                             HARRY POTTER
                            2,525,908
                            2,568,097
                            2,568,098
                            3,926,486
                            5,834,087
                            6,563,454
                            7,133,214
                            2,457,302
                            2,526,111
                            2,530,755
                            2,574,410
                            2,683,060
                            2,685,932
                            5,962,675
                            5,962,676
                            6,707,698
                            6,707,699           MISCHIEF
                            6,719,187           MANAGED
                            6,907,319
                            7,122,049
                            7,279,539
                            6,936,678
                            6,936,703
                            6,936,706           EXPECTO
                            6,936,715          PATRONUM
                            6,936,716
                            6,943,316


                                                 23
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                     6,621,695
                     6,621,696       NIMBUS 2000
                     6,621,698
                     5,945,688
                     5,945,689
                     5,945,690
                     5,945,691      BOWTRUCKLE
                     6,701,853
                     6,701,854
                     6,809,199
                     5,994,184
                     5,994,185
                     6,011,345
                                     PORPENTINA
                     6,011,346
                                      GOLDSTEIN
                     6,011,347
                     6,011,348
                     6,050,795
                     5,935,739
                     5,935,740
                     5,935,742
                                       QUEENIE
                     6,011,349
                                      GOLDSTEIN
                     6,011,350
                     6,011,351
                     6,011,352
                     6,011,353
                     5,964,717
                     6,119,654       I SOLEMNLY
                     6,119,655      SWEAR THAT I
                     6,240,287       AM UP TO NO
                     6,240,288           GOOD
                     6,974,711
                     7,037,272
                     6,011,334
                     6,011,335
                     6,011,336          NO-MAJ
                     6,011,337
                     6,011,338
                     5,994,186
                     5,994,187
                                        JACOB
                     5,994,188
                                      KOWALSKI
                     5,994,189
                     5,994,190
                     6,011,354




                                       24
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                     5,970,982
                     5,970,983
                     5,970,984         PERCIVAL
                     5,970,985          GRAVES
                     5,970,986
                     5,970,987
                     5,970,988
                     4,560,670
                     4,941,597        GRINGOTTS
                     6,072,780
                                       GOLDEN
                     5,625,574
                                       SNITCH
                     6,017,086
                     5,851,547
                     5,851,548
                     5,851,549
                     5,851,550          ACCIO
                     5,851,551
                     5,851,552

                     5,867,701
                     5,867,702      THE BLIND PIG
                     5,867,704
                     5,845,456
                     5,845,457
                     5,845,460
                     5,850,786
                     5,850,787         MACUSA
                     5,850,790
                     5,850,792
                     5,850,796
                     5,882,924
                     2,491,427
                     2,495,015
                     2,497,076
                     2,550,774
                     3,986,326        HOGWARTS
                     3,986,328
                     4,053,475
                     5,396,287
                     5,497,874
                     5,799,829
                     5,710,360
                     5,734,453        FANTASTIC
                     5,921,351         BEASTS
                     5,956,041


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                     5,100,666
                     5,114,810
                     5,137,845
                     5,218,768       FANTASTIC
                     5,245,110       BEASTS AND
                     5,306,455        WHERE TO
                     5,340,954        FIND THEM
                     5,793,687
                     5,793,690
                     5,793,692
                     5,849,244
                     5,769,819
                     5,769,820
                     5,769,821
                     5,769,822
                     5,769,823
                                     FANTASTIC
                     5,769,824
                                       BEASTS:
                     5,775,620
                                      CRIMES OF
                     5,775,621
                                    GRINDELWALD
                     5,918,254
                     5,951,365
                     6,228,613
                     6,228,614
                     6,694,545
                     5,124,606
                     5,142,072
                     5,241,734
                     5,241,735
                                        NEWT
                     5,793,707
                                     SCAMANDER
                     5,793,708
                     5,793,709
                     5,793,711
                     5,894,692
                     5,680,668
                     5,680,669
                     5,910,044
                     5,910,045
                     5,910,046         NIFFLER
                     5,910,047
                     5,945,686
                     6,195,792
                     6,701,852
                     6,159,282         MAGICAL
                     6,365,013         MISCHIEF




                                       26
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                     5,800,492
                     5,800,493
                                      DEMIGUISE
                     5,800,494
                     5,935,579
                     5,799,864
                     5,799,869         FWOOPER
                     5,930,436
                     5,109,849
                                     TIME-TURNER
                     5,109,878
                     4,876,091
                                       CHUDLEY
                     5,142,071
                                       CANNONS
                     5,561,924
                     5,956,169
                                       PORTKEY
                     6,245,804
                                        GAMES
                     6,329,124
                     3,652,894          LUNA
                     4,870,849        LOVEGOOD
                     3,958,443
                                       ZONKO’S
                     5,636,121
                     3,975,162
                     4,194,934        OWL POST
                     5,487,385
                     4,863,368         TALES OF
                     4,868,504       BEEDLE THE
                     5,223,440           BARD
                                    FLIGHT OF THE
                     3,931,730
                                     HIPPOGRIFF
                     4,663,862          LEAKY
                     5,271,512        CAULDRON
                     4,237,725
                     4,581,231
                     4,632,764         MUGGLE
                     5,131,616
                     5,561,303
                     2,632,412         MUGGLES
                     3,059,408
                                      DEMENTOR
                     4,973,854




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                     3,868,831
                     5,012,596
                     5,306,653
                     5,306,713
                     5,389,930
                     5,389,999
                                     BUTTERBEER
                     5,414,521
                     5,414,522
                     5,419,836
                     5,460,527
                     5,511,035
                     5,573,030
                     2,719,635
                     3,994,446
                     4,023,251
                                     RAVENCLAW
                     4,226,195
                     4,227,388
                     4,396,409
                     2,508,004
                     2,525,903
                     3,994,447
                     4,002,983        SLYTHERIN
                     4,023,252
                     4,026,600
                     4,132,174
                     2,480,839
                     2,516,387
                     2,607,934
                     3,998,723       GRYFFINDOR
                     3,998,724
                     4,019,867
                     4,023,249
                     2,505,434
                     3,994,445
                     4,002,982
                                     HUFFLEPUFF
                     4,023,250
                     4,061,026
                     4,074,874
                     3,901,355
                     4,664,387      OLLIVANDERS
                     7,185,871
                     2,483,583
                     2,502,927
                                       HEDWIG
                     4,012,945
                     4,573,507




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                                6,770,302           HEDWIG’S
                                6,770,307            THEME 2
                                7,356,891             AVADA
                                7,375,778           KEDAVRA
                                7,356,889          WINGARDIUM
                                7,503,442            LEVIOSA




                                7,062,280




                                6,761,342           PIN SEEKING
                                4,969,076           PLATFORM 9
                                5,091,446                3/4
                                7,190,551
                                7,190,552
                                7,190,553
                                7,340,488
                                7,340,489
                                7,409,185
                                7,409,186
                                7,409,187
                                7,409,188
                                                    GLADRAGS
                                7,164,728
                                                   WIZARDWEAR
                                2,919,933
                                                     BUCKBEAK
                                3,056,159
                                2,456,415
                                2,483,585
                                3,986,052
                                                     QUIDDITCH
                                3,986,060
                                4,019,970
                                4,109,233
                                2,595,096
                                                    THE SORTING
                                2,759,251
                                                        HAT
                                3,177,731
                                2,528,301
                                                       HAGRID
                                2,621,823


2
  These are sound marks consisting of the first fifteen bars of “Hedwig’s Theme,” a musical motif used in
all eight Harry Potter films.


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                     2,458,608
                                      HERMIONE
                     4,009,793
                                      GRANGER
                     4,183,615
                     2,456,416
                     2,570,390      RON WEASLEY
                     3,948,415
                     2,702,878        ALBUS
                     3,966,674      DUMBLEDORE
                     3,901,354
                     3,975,167       HONEYDUKES
                     4,338,994
                     3,929,808
                                     HOG’S HEAD
                     4,488,713
                                        THREE
                     3,887,250
                                    BROOMSTICKS
                     5,387,002       HOGSMEADE
                                      MIRROR OF
                     6,701,053
                                        ERISED
                                      HAGRID'S
                                      MAGICAL
                     6,629,012       CREATURES
                                     MOTORBIKE
                                     ADVENTURE
                                     WIZARDING
                     7,026,102
                                    WEDNESDAYS
                     6,732,155       DARK ARTS
                                       NICOLAS
                     6,463,985
                                       FLAMEL
                                     WIZARDING
                     6,441,675
                                      PASSPORT
                                      KEYS AND
                     6,323,348
                                        CURIOS
                                        DAILY
                     7,096,177
                                       PROPHET
                                       PHOENIX
                      7,080,625
                                        WAND
                                        HARRY
                                       POTTER:
                     5,798,353
                                     HOGWARTS
                                      MYSTERY
                                    HARRY POTTER
                     5,751,749         AND THE
                                    CURSED CHILD
                     4,983,875          DOBBY
                     2,701,382          SNAPE



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                                    BERTIE BOTT'S
                     2,489,063            EVERY
                                    FLAVOR BEANS
                     2,801,298           FAWKES
                     4,049,613      DIAGON ALLEY
                                      PROFESSOR
                     4,060,320
                                     DUMBLEDORE
                                    HARRY POTTER
                                        AND THE
                     3,929,202
                                      FORBIDDEN
                                        JOURNEY
                                     DERVISH AND
                     3,890,843
                                         BANGES
                     6,348,112        KNIGHT BUS
                     4,425,852       REMEMBRALL
                                          GINNY
                     4,198,833
                                       WEASLEY
                                    DUMBLEDORE'
                     3,508,583
                                         S ARMY
                                           LORD
                     2,669,605
                                      VOLDEMORT
                     2,643,496         SCABBERS
                     3,917,661        MAGIC NEEP
                                          DRACO
                     2,579,560
                                        MALFOY
                                    HARRY POTTER
                     3,005,958          AND THE
                     3,378,405        SORCERER’S
                                          STONE
                                    HARRY POTTER
                                        AND THE
                     3,378,401
                                     CHAMBER OF
                                        SECRETS
                                    HARRY POTTER
                     2,973,235
                                        AND THE
                     4,061,080
                                     PRISONER OF
                     4,498,415
                                       AZKABAN
                                    HARRY POTTER
                     3,104,726
                                        AND THE
                     4,467,108
                                       GOBLET OF
                     4,649,583
                                           FIRE
                     3,340,899      HARRY POTTER
                     3,419,797          AND THE
                     3,419,796      ORDER OF THE
                     3,525,664          PHOENIX



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                     3,709,670
                     3,719,406      HARRY POTTER
                     3,787,931      AND THE HALF-
                     3,818,958      BLOOD PRINCE
                     3,908,384
                                    HARRY POTTER
                     4,050,182
                                      AND THE
                     4,053,693
                                      DEATHLY
                     4,060,897
                                      HALLOWS
                     6,124,680
                     6,124,681
                     6,124,683
                     6,124,684
                                     MARAUDER'S
                     6,124,687
                                        MAP
                     6,124,688
                     6,124,689
                     6,124,690
                     6,124,691
                     5,530,768
                     5,530,769
                                    J.K. ROWLING'S
                     5,530,770
                                      WIZARDING
                     5,530,771
                                         WORLD
                     5,530,772
                     5,541,501
                     3,864,766
                     3,864,767
                     3,864,768
                     3,864,769
                                        THE
                     3,883,225
                                     WIZARDING
                     3,894,184
                                      WORLD OF
                     3,894,185
                                    HARRY POTTER
                     3,894,186
                     3,911,377
                     3,920,029
                     3,925,834
                     6,672,355
                     6,672,356
                     6,834,121
                                   WIZARDING WORLD
                     6,834,122
                     6,834,123
                     6,901,373




                                       32
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                     6,096,860
                     6,283,506
                     6,283,507
                     6,283,508
                     6,283,509
                     6,283,510
                     6,283,511
                     6,283,512
                     6,289,772
                     6,289,773
                     6,301,691
                     6,731,980
                     6,754,551
                     6,996,866




                     4,973,375
                     5,129,404




                     4,928,689
                     4,952,370
                     5,166,914




                                       33
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                     5,140,245




                     5,660,150
                     5,660,152
                     5,660,154
                     5,660,156
                     5,660,158
                     5,660,159




                     5,665,723
                     5,666,311
                     5,779,064
                     5,797,424




                                       34
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                     5,628,824
                     5,656,809
                     5,656,810
                     5,656,811




                     5,779,069
                     5,797,356
                     5,797,427
                     5,871,006




                     5,571,738
                     5,571,739
                     5,581,853
                     5,581,854




                                       35
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                     5,797,321
                     5,797,357
                     5,797,425
                     5,797,457




                     5,581,845
                     5,581,846
                     5,581,847
                     5,581,848




                     5,757,632
                     5,757,641
                     5,757,764
                     5,811,075




                                       36
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                              5,656,812
                              5,656,813
                              5,656,814
                              5,656,815




                              5,698,239
                              5,698,240
                              5,698,242
                              5,698,243




       13.     The U.S. registrations for the HP Trademarks are valid, subsisting, and in full force

and effect, and some are incontestable pursuant to 15 U.S.C. § 1065. The registrations for the HP

Trademarks constitute prima facie evidence of their validity and of WBEI’s exclusive right to use

the HP Trademarks pursuant to 15 U.S.C. § 1057(b) and, in the case of WBEI’s incontestable

registrations, the registrations constitute conclusive evidence of their validity and of WBEI’s

exclusive right to use said marks pursuant to 15 U.S.C. § 1115(b). True and correct copies of the

United States Registration Certificates for the HP Trademarks, and affidavits of incontestability

for the incontestable registrations, are attached hereto as Exhibit 2.



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       14.     The HP Trademarks are exclusive to WBEI and are displayed extensively on HP

Products and in marketing and promotional materials. The HP Trademarks are also distinctive

when applied to HP Products, signifying to the purchaser that the products come from WBEI and

are manufactured to WBEI’s quality standards. Whether WBEI manufactures the products itself

or contracts with licensees to do so, WBEI has ensured that products bearing the HP Trademarks

are manufactured to the highest quality standards.

       15.     WBEI’s use of the HP Trademarks has built substantial goodwill in the HP

Trademarks. As such, the HP Trademarks are famous marks, as that term is used in 15 U.S.C. §

1125(c)(1), and have never been abandoned. The success of the Harry Potter franchise, in addition

to the marketing of HP Products, has enabled the Harry Potter brand to achieve widespread

recognition and fame and has made the HP Trademarks some of the most well-known and world

famous marks in the entertainment industry. The widespread fame, outstanding reputation, and

significant goodwill associated with the Harry Potter brand have made the HP Trademarks

valuable assets of WBEI.

       16.     Products bearing the HP Trademarks have been the subject of substantial and

continuous marketing and promotion. WBEI has marketed and promoted, and continues to market

and promote, HP Products in the industry and to consumers through traditional print media,

authorized retailers, social media sites, point of sale material, and WBEI’s www.harry

pottershop.com website.

       17.     WBEI has expended substantial time, money, and other resources advertising,

promoting, and marketing HP Products. HP Products have also been the subject of extensive

unsolicited publicity due to the success of the Harry Potter brand. As a result, products bearing

the HP Trademarks are widely recognized and exclusively associated by consumers as being high-




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quality products sourced from WBEI. The HP Trademarks have achieved tremendous fame and

recognition, adding to the inherent distinctiveness of the marks. As such, the goodwill associated

with the HP Trademarks is of immeasurable value to WBEI.

         18.   HP Products are sold only by WBEI or through authorized licensees and are

recognized by the public as being exclusively associated with the Harry Potter brand.

         19.   Defendants are unknown individuals and business entities who own and/or operate

one or more of the e-commerce stores under the Seller Aliases identified on Schedule A and/or

other seller aliases not yet known to WBEI. On information and belief, Defendants reside and/or

operate in foreign jurisdictions and redistribute products from the same or similar sources in those

locations. Defendants have the capacity to be sued pursuant to Federal Rules of Civil Procedure

17(b).

         20.   On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for WBEI to learn Defendants’ true identities and the exact interworking of their

infringing network.     If Defendants provide additional credible information regarding their

identities, WBEI will take appropriate steps to amend the Complaint.

                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

         21.   The success of the Harry Potter brand has resulted in significant counterfeiting of

the HP Trademarks and infringement of the HP Copyrighted Works. Because of this, WBEI has

implemented a brand protection program that involves investigating suspicious websites and

online marketplace listings identified in proactive Internet sweeps. Recently, WBEI has identified

many fully interactive e-commerce stores offering Unauthorized Products on online marketplace




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platforms like Amazon.com, Inc. (“Amazon”), WhaleCo, Inc. (“Temu”), and Walmart, Inc.

(“Walmart”), including the e-commerce stores operating under the Seller Aliases. The Seller

Aliases target consumers in this Judicial District and throughout the United States. According to

a report prepared for The Buy Safe America Coalition, most infringing products now come through

international mail and express courier services (as opposed to containers) due to increased sales

from offshore online infringers. The Counterfeit Silk Road: Impact of Counterfeit Consumer

Products Smuggled Into the United States, prepared by John Dunham & Associates (Exhibit 3).

        22.    Because the infringing products sold by offshore online infringers do not enter

normal retail distribution channels, the US economy lost an estimated 300,000 or more full-time

jobs in the wholesale and retail sectors alone in 2020. Id. When accounting for lost jobs from

suppliers that would serve these retail and wholesale establishments, and the lost jobs that would

have been induced by employees re-spending their wages in the economy, the total economic

impact resulting from the sale of infringing products was estimated to cost the United States

economy over 650,000 full-time jobs that would have paid over $33.6 billion in wages and

benefits. Id. Additionally, it is estimated that the importation of infringing goods cost the United

States government nearly $7.2 billion in personal and business tax revenues in the same period.

Id.

        23.    Furthermore, online marketplace platforms like those used by Defendants do not

adequately subject new sellers to verification and confirmation of their identities, allowing

infringers to “routinely use false or inaccurate names and addresses when registering with these e-

commerce platforms.” Exhibit 4, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the

Age of the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating

Trafficking in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland




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Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 5, and finding

that on “at least some e-commerce platforms, little identifying information is necessary for a

counterfeiter to begin selling” and that “[t]he ability to rapidly proliferate third-party online

marketplaces greatly complicates enforcement efforts, especially for intellectual property rights

holders.” Infringers hedge against the risk of being caught and having their websites taken down

from an e-commerce platform by establishing multiple virtual storefronts. Exhibit 5 at p. 22.

Since platforms generally do not require a seller on a third-party marketplace to identify the

underlying business entity, infringers can have many different profiles that can appear unrelated

even though they are commonly owned and operated. Exhibit 5 at p. 39. Further, “[e]-commerce

platforms create bureaucratic or technical hurdles in helping brand owners to locate or identify

sources of [infringing products] and [infringers].” Exhibit 4 at 186-187. Specifically, brand

owners are forced to “suffer through a long and convoluted notice and takedown procedure only

[for the infringer] to reappear under a new false name and address in short order.” Id. at p. 161.

       24.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on information

and belief, sell Unauthorized Products to residents of Illinois.

       25.     Defendants concurrently employ and benefit from similar advertising and

marketing strategies. For example, Defendants facilitate sales by designing the e-commerce stores

operating under the Seller Aliases so that they appear to unknowing consumers to be authorized

online retailers, outlet stores, or wholesalers. E-commerce stores operating under the Seller

Aliases appear sophisticated and accept payment in U.S. dollars in multiple ways, including via

credit cards, Amazon Pay, PayPal, and/or Stripe. E-commerce stores operating under the Seller




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Aliases often include content and images that make it very difficult for consumers to distinguish

their stores from an authorized retailer. WBEI has not licensed or authorized Defendants to use

the HP Trademarks and/or to copy or distribute the HP Copyrighted Works, and none of the

Defendants are authorized retailers of HP Products.

       26.     Many Defendants also deceive unknowing consumers by using the HP Trademarks

within the content, text, and/or meta tags of their e-commerce stores to attract consumers using

search engines to find websites relevant to HP Products. Other e-commerce stores operating under

the Seller Aliases omit using the HP Trademarks in the item title to evade enforcement efforts

while using strategic item titles and descriptions that will trigger their listings when consumers are

searching for HP Products.

       27.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       28.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Unauthorized Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities and the full scope and interworking of their operation, and

to avoid being shut down.

       29.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating




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under the Seller Aliases include other common features, such as registration patterns, accepted

payment methods, check-out methods, keywords, advertising tactics, similarities in price and

quantities, the same incorrect grammar and misspellings, and/or the use of the same text and

images.    Additionally, Unauthorized Products for sale by the Seller Aliases bear similar

irregularities and indicia of being infringing to one another, suggesting that the Unauthorized

Products were manufactured by and come from a common source and that Defendants are

interrelated.

        30.     E-commerce store operators like Defendants communicate with each other through

QQ.com chat rooms and utilize websites, like sellerdefense.cn, that provide tactics for operating

multiple online marketplace accounts and evading detection by brand owners. Websites like

sellerdefense.cn also tip off e-commerce store operators, like Defendants, of new intellectual

property infringement lawsuits filed by brand owners, such as WBEI, and recommend that e-

commerce operators cease their infringing activity, liquidate their associated financial accounts,

and change the payment processors that they currently use to accept payments in their online stores.

        31.     Infringers such as Defendants typically operate under multiple seller aliases and

payment accounts so that they can continue operation despite WBEI’s enforcement. E-commerce

store operators like Defendants maintain off-shore bank accounts and regularly move funds from

their financial accounts to offshore accounts outside the jurisdiction of this Court to avoid payment

of any monetary judgment awarded to WBEI.

        32.     Defendants are working to knowingly and willfully manufacture, import, distribute,

offer for sale, and/or sell Unauthorized Products in the same transaction, occurrence, or series of

transactions or occurrences. Defendants, without any authorization or license from WBEI have

knowingly and willfully used, and continue to use, the HP Trademarks and/or copies of the HP




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Copyrighted Works in connection with the advertisement, distribution, offering for sale, and/or

sale of Unauthorized Products into the United States and Illinois over the Internet.

        33.     Defendants’ unauthorized use of the HP Trademarks and/or copies of the HP

Copyrighted Works in connection with the advertising, distribution, offering for sale, and/or sale

of Unauthorized Products into the United States, including Illinois, is likely to cause, and has

caused, confusion, mistake, and deception by and among consumers and is irreparably harming

WBEI.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        34.     WBEI hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

        35.     This is a trademark infringement action against certain Defendants 3 based on their

unauthorized use in commerce of counterfeit imitations of the HP Trademarks in connection with

the sale, offering for sale, distribution, and/or advertising of infringing goods. The HP Trademarks

are highly distinctive marks. Consumers have come to expect the highest quality from products

offered, sold, or marketed under the HP Trademarks.

        36.     Certain Defendants have sold, offered to sell, marketed, distributed, and/or

advertised, and are still selling, offering to sell, marketing, distributing, and/or advertising products

using counterfeit reproductions of the HP Trademarks without WBEI’s permission.

        37.     WBEI owns the HP Trademarks. WBEI’s United States registrations for the HP

Trademarks are in full force and effect. On information and belief, certain Defendants have

knowledge of WBEI’s rights in the HP Trademarks and are willfully infringing and intentionally



3
 Count I applies to all Defendants who infringed the HP Trademarks, as outlined in Schedule A attached
hereto.


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using infringing and counterfeit versions of the HP Trademarks. Those Defendants’ willful,

intentional, and unauthorized use of the HP Trademarks is likely to cause, and is causing,

confusion, mistake, and deception as to the origin and quality of the Unauthorized Products among

the general public.

       38.     Certain Defendants’ activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       39.     WBEI has no adequate remedy at law and if certain Defendants’ actions are not

enjoined, WBEI will continue to suffer irreparable harm to its reputation and the goodwill of the

HP Trademarks.

       40.     The injuries and damages sustained by WBEI have been directly and proximately

caused by certain Defendants’ wrongful reproduction, use of advertisement, promotion, offering

to sell, and/or sale of Unauthorized Products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       41.     WBEI hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       42.     Certain Defendants’ 4 promotion, marketing, offering for sale, and/or sale of

Unauthorized Products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with WBEI or

the origin, sponsorship, or approval of Defendants’ Unauthorized Products by WBEI.




4
 Count II applies to all Defendants who infringed the HP Trademarks, as outlined in Schedule A attached
hereto.


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       43.     By using the HP Trademarks in connection with the offering for sale and/or sale of

Unauthorized Products, certain Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the Unauthorized Products.

       44.     Certain Defendants’ false designation of origin and misrepresentation of fact as to

the origin and/or sponsorship of the Unauthorized Products to the general public involves the use

of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       45.     WBEI has no adequate remedy at law and will continue to suffer irreparable harm

to its reputation and the associated goodwill of the Harry Potter brand if certain Defendants’

actions are not enjoined.

                              COUNT III
          COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT
                  REGISTRATIONS (17 U.S.C. §§ 106 and 501)

       46.     WBEI hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       47.     The HP Copyrighted Works constitute original works and copyrightable subject

matter pursuant to the Copyright Act, 17 U.S.C. § 101, et seq.

       48.     WBEI owns the HP Copyrighted Works. WBEI has complied with the registration

requirements of 17 U.S.C. § 411(a) for the HP Copyrighted Works. The HP Copyrighted Works

are protected by copyright registration numbers which were duly issued to WBEI by the United

States Copyright Office. At all relevant times, WBEI has been, and still is, the owner of all rights,

title, and interest in the HP Copyrighted Works, which have never been assigned, licensed, or

otherwise transferred to Defendants.

       49.     On information and belief, Defendants had access to the HP Copyrighted Works

through, without limitation, (1) access to HP Products, which are distributed and sold to consumers




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by WBEI through authorized licensees and retail channels, including at various Harry Potter-

themed parks and attractions, Harry Potter stores owned and/or controlled by WBEI, and through

WBEI’s www.harrypottershop.com website; (2) access to the Harry Potter movies; and (3) access

to the Harry Potter books.

       50.     Without authorization from WBEI, or any right under the law, certain Defendants 5

have deliberately copied, displayed, distributed, reproduced, and/or made derivative works

incorporating the HP Copyrighted Works on e-commerce stores operating under the Seller Aliases

and the corresponding Unauthorized Products. Certain Defendants’ derivative works are virtually

identical to and/or are substantially similar to the look and feel of the HP Copyrighted Works.

Such conduct infringes and continues to infringe the HP Copyrighted Works in violation of 17

U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5).

       51.     Certain Defendants reap the benefits of the unauthorized copying and distribution

of the HP Copyrighted Works in the form of revenue and other profits that are driven by the sale

of Unauthorized Products.

       52.     Certain Defendants have unlawfully appropriated WBEI’s protectable expression

by taking material of substance and value and creating Unauthorized Products that capture the total

concept and feel of the HP Copyrighted Works, including the distinctive characters embodied

therein.

       53.     On information and belief, certain Defendants’ infringement has been willful,

intentional, purposeful, and in disregard of and with indifference to WBEI’s rights.

       54.     Certain Defendants, by their actions, have damaged WBEI in an amount to be

determined at trial.


5
  Count III applies to all Defendants who infringed the HP Copyrighted Works, as outlined in Schedule A
attached hereto.


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       55.      Certain Defendants’ conduct is causing and, unless enjoined and restrained by this

Court, will continue to cause WBEI great and irreparable injury that cannot fully be compensated

or measured in money. WBEI has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, WBEI

is entitled to a preliminary and permanent injunction prohibiting further infringement of the HP

Copyrighted Works.

                                     PRAYER FOR RELIEF

WHEREFORE, WBEI prays for judgment against Defendants as follows:

1)     That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily, preliminarily, and permanently enjoined and restrained from:

             a. using the HP Trademarks or any reproductions, counterfeit copies, or colorable

                imitations thereof in any manner in connection with the distribution, marketing,

                advertising, offering for sale, or sale of any product that is not a HP Product or is

                not authorized by WBEI to be sold in connection with the HP Trademarks;

             b. reproducing, distributing copies of, making derivative works of, or publicly

                displaying the HP Copyrighted Works in any manner without the express

                authorization of WBEI;

             c. passing off, inducing, or enabling others to sell or pass off any product as a HP

                Product or any other product produced by WBEI, that is not WBEI’s or not

                produced under the authorization, control, or supervision of WBEI and approved

                by WBEI for sale under the HP Trademarks and/or the HP Copyrighted Works;

             d. committing any acts calculated to cause consumers to believe that Defendants’

                Unauthorized Products are those sold under the authorization, control, or




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              supervision of WBEI, or are sponsored by, approved by, or otherwise connected

              with WBEI;

           e. further infringing the HP Trademarks and/or the HP Copyrighted Works and

              damaging WBEI’s goodwill; and

           f. manufacturing, shipping, delivering, holding for sale, transferring, or otherwise

              moving, storing, distributing, returning, or otherwise disposing of, in any manner,

              products or inventory not manufactured by or for WBEI, nor authorized by WBEI

              to be sold or offered for sale, and which bear any of the HP Trademarks and/or the

              HP Copyrighted Works;

2)     Entry of an Order that, upon WBEI’s request, those with notice of the injunction, including

without limitation, any websites and/or online marketplace platforms, including Amazon, Temu,

and Walmart, shall disable and cease displaying any advertisements used by or associated with

Defendants in connection with the sale of infringing goods using the HP Trademarks and/or the

HP Copyrighted Works;

3)     That certain Defendants account for and pay to WBEI all profits realized by those

Defendants by reason of those Defendants’ unlawful acts herein alleged, and that the amount of

damages for infringement of the HP Trademarks be increased by a sum not exceeding three times

the amount thereof as provided by 15 U.S.C. § 1117;

4)     In the alternative, that WBEI be awarded statutory damages, for willful trademark

counterfeiting pursuant to 15 U.S.C. § 1117(c)(2), of $2,000,000 for each and every use of the HP

Trademarks;




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5)        As a direct and proximate result of certain Defendants’ infringement of the HP Copyrighted

Works, WBEI is entitled to damages as well as those Defendants’ profits, pursuant to 17 U.S.C. §

504(b);

6)        Alternatively, and at WBEI’s election prior to any final judgment being entered, WBEI is

entitled to the maxium amount of statutory damages provided by law, $150,000 per work infringed

pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be proper pursuant to 17

U.S.C. § 504(c);

7)        WBEI is further entitled to recover its attorneys’ fees and full costs for bringing this action

pursuant to 17 U.S.C. § 505 and 15 U.S.C. § 1117(a); and

8)        That WBEI be awarded its reasonable attorneys’ fees and costs; and

9)        Award any and all other relief that this Court deems just and proper.




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Dated this 27th day of February 2025.   Respectfully submitted,


                                        /s/ Martin F. Trainor
                                        Martin F. Trainor
                                        Sydney Fenton
                                        Alexander Whang
                                        TME Law, P.C.
                                        10 S. Riverside Plaza
                                        Suite 875
                                        Chicago, Illinois 60606
                                        708.475.1127
                                        martin@tme-law.com
                                        sydney@tme-law.com
                                        alexander@tme-law.com

                                        Counsel for Plaintiff Warner Bros. Entertainment
                                        Inc.




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